    Case 3:24-mj-03013-TJB Document 2 Filed 01/30/24 Page 1 of 1 PageID: 24




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                             MINUTES OF PROCEEDINGS

TRENTON                                                          January 30, 2024
OFFICE                                                           DATE OF PROCEEDINGS

JUDGE: TONIANNE BONGIOVANNI
Digitally Recorded: John Moller



TITLE OF CASE:                                                    24-MJ-3013 (TJB)
                                     USDC for the District of Columbia 1:24-MJ-22

UNITED STATES OF AMERICA,
      V.
LEE A. GIOBBIE
      DEFENDANT PRESENT


APPEARANCES:

Vera Varshavsky, AUSA for Government
Hope Lefeber, Esq., for Defendant
Lura Jenkins, Pretrial Service Officer

NATURE OF PROCEEDING:                       Rule 5 Initial Appearance

Ordered Hope Lefeber, Esq. retained as counsel.
Rule 5 Initial appearance held.
Waiver of Rule 5 & 5.1. hearing executed.
Defendant advised of Rule 20 rights.
All parties consent to release.
Ordered bail set at $100,000 unsecured bond.
Order Setting Conditions of Release to be entered.



TIME COMMENCED:     2:53 p.m.
TIME ADJOURNED:     3:16 a.m.                                       s/ John Moller
TOTAL TIME: 23 MINUTES                                               Deputy Clerk
